23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 1 of
                                        52



                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

 IN RE:                                 §
 PACKET CONSTRUCTION LLC                §
                                        §
                                        §
       DEBTOR                           §   BANKRUPTCY CASE NO. 23-10860

                                2022 TAX RETURN
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 2 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 3 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 4 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 5 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 6 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 7 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 8 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 9 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 10 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 11 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 12 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 13 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 14 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 15 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 16 of
                                        52
PAKCONSTLLC     Packet
      23-10860-cgb     Construction
                    Doc#12          LLC
                             Filed 10/13/23                                 9/11/2023 Pg
                                            Entered 10/13/23 09:23:27 Main Document   5:00
                                                                                         17PM
                                                                                            of
      4512                         Federal Statements
                                                 52
FYE: 12/31/2022


                Statement 1 - Form 1120-S, Page 1, Line 19 - Other Deductions

           Description                      Amount
BANK CHARGES                           $       10,013
PROFESSIONAL FEES                              42,790
OFFICE SUPPLIES                                 9,709
TRAVEL                                         16,082
UTILITIES                                       2,490
BUSINESS DEVELOPMENT
SAFETY PROGRAM
INSURANCE                                     207,308
PERDIEM
Amortization                                   29,666
     Total                             $      318,058


     Statement 2 - Form 1120-S, Page 4, Schedule K, Line 17d - Other Items and Amounts

                             Description                                        Amount
Section 199A Information - See Attached Wrk                                $

            Statement 3 - Form 1120-S, Page 4, Schedule L, Line 14 - Other Assets

                                           Beginning               End
           Description                      of Year              of Year
Line of Credit Card                    $       13,235        $       13,235
     Total                             $       13,235        $       13,235


   Statement 4 - Form 1120-S, Page 5, Schedule M-1, Line 2 - Taxable Income Not on Books

           Description                      Amount
Form 4797 Book/Tax Diff                $       10,000
     Total                             $       10,000


         Statement 5 - Form 1120-S, Page 5, Schedule M-2, Line 3(a) - Other Additions

           Description                      Amount
Contributions from Shareholde          $      101,919
     Total                             $      101,919


        Statement 6 - Form 1120-S, Page 5, Schedule M-2, Line 5(a) - Other Reductions

           Description                      Amount
Section 179 Expense                    $      100,000
     Total                             $      100,000




                                                                                         1-6
PAKCONSTLLC     Packet
      23-10860-cgb     Construction
                    Doc#12          LLC
                             Filed 10/13/23                                 9/11/2023 Pg
                                            Entered 10/13/23 09:23:27 Main Document   5:00
                                                                                         18PM
                                                                                            of
      4512                         Federal Statements
                                                 52
FYE: 12/31/2022


                         Statement 7 - Form 1125-A, Line 5 - Other Costs

           Description                       Amount
CONTRACT SERVICES                        $   1,106,065
EQUIPMENT RENTAL                             1,062,293
EQUIPMENT REPAIR                                18,694
Operating Supplies                           1,399,526
EQUIPMENT FUEL                                 290,334
AGGREGATE                                      520,653
CONCRETE                                       212,842
REBAR                                          103,959
SURVEYS                                         42,029
REIMBURSEMENTS                                  64,541
Material Testing Services                       23,680
      Total                              $   4,844,616




                                                                                         7
PAKCONSTLLC     Packet
      23-10860-cgb     Construction
                    Doc#12          LLC
                             Filed 10/13/23                                 9/11/2023 Pg
                                            Entered 10/13/23 09:23:27 Main Document   5:00
                                                                                         19PM
                                                                                            of
      4512                         Federal Statements
                                                 52
FYE: 12/31/2022                         John P Miller
                                                0349

              Schedule K-1, Box 17, Code AC - Gross Receipts for Section 448(c)

                                                                             Shareholder
                             Description                                       Amount
8990 Gross Receipts for 2021                                                      3,267,767
8990 Gross Receipts for 2020                                                      4,596,718
8990 Gross Receipts for 2019                                                      5,563,205
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 20 of
                                        52
 PAKCONSTLLC     Packet
       23-10860-cgb     Construction
                     Doc#12          LLC
                              Filed 10/13/23                                09/11/2023 Pg
                                             Entered 10/13/23 09:23:27 Main Document   5:00
                                                                                          21PM
                                                                                             of
       4512                       Federal Asset   52 Report
 FYE: 12/31/2022                     Form 1120-S, Page 1

                                                       Date                    Bus Sec       Basis
Asset                  Description                  In Service     Cost         % 179Bonus for Depr               PerConv Meth    Prior       Current


Section 179 Expense:
  35 Drilling Rig 2017 R023                          9/22/22        317,296           X              N/A           7 MO S/L               0    100,000
                                                                    317,296                          N/A                                  0    100,000


7-year GDS Property:
  34 Received in trade for asset # 17                6/01/22               0                X                0     7 HY 200DB             0             0
                                                                           0                                 0                            0             0


Prior MACRS:
   1 Skid Steer                                  12/29/17             9,200                 X                0     7   MQ200DB      9,200               0
   2 Mini Excavater                              12/29/17             7,800                 X                0     7   MQ200DB      7,800               0
   3 Skid Steer                                  12/29/17            76,236                 X                0     7   MQ200DB     76,236               0
   4 Enclosed Tool Trailer                       12/28/17             4,494                 X                0     5   MQ200DB      4,494               0
   5 Equipment Trailer                           12/28/17             5,028                 X                0     5   MQ200DB      5,028               0
   6 Equipment Trailer                            1/17/18             4,997                 X                0     7   HY 200DB     4,997               0
   7 Equipment Trailer                            1/29/18             7,868                 X                0     7   HY 200DB     7,868               0
   8 7'x20' Equipment trailer                     2/20/18             4,997                 X                0     7   HY 200DB     4,997               0
   9 7' x 16' Cargo Trailer                       2/20/18             4,601                 X                0     7   HY 200DB     4,601               0
  10 7' x 20' Equipment Trailer                   2/22/18             5,210                 X                0     7   HY 200DB     5,210               0
  11 Equipment Trailer                            2/28/18             5,180                 X                0     7   HY 200DB     5,180               0
  12 7' x 16' Tool Trailer                        3/06/18             5,028                 X                0     7   HY 200DB     5,028               0
  13 Equipment Trailer 20'                        3/30/18             5,376                 X                0     7   HY 200DB     5,376               0
  14 303.5 Mini Excavator                         5/22/18            44,722                 X                0     7   HY 200DB    44,722               0
  15 289D Skid Steer                              5/22/18            46,796                 X                0     7   HY 200DB    46,796               0
  17 2019 Polaris Ranger                          6/07/18            29,339                 X                0     7   HY 200DB    29,339               0
                         Casualty/Theft: 6/01/22
  18 Forklift                                     7/17/18            34,662                 X                0     7 HY 200DB      34,662               0
                         Sold/Scrapped: 7/01/22
  19 Water Truck                                  7/17/18            28,676                 X                0     7   HY 200DB    28,676               0
  20 32' Goose Neck Trailer                       7/25/18            10,519                 X                0     7   HY 200DB    10,519               0
  23 Fork Lift                                    9/04/18             1,514                 X                0     7   HY 200DB     1,514               0
  24 Fork Lift Upgrade                           11/01/18             8,554                 X                0     7   HY 200DB     8,554               0
  25 Telescopic Drill Attachment Skid Steer       2/07/19            14,276                 X                0     7   MQ200DB     14,276               0
  26 Travel Trailer                               2/07/19            79,524                 X                0     7   MQ200DB     79,524               0
  27 Compressor                                   4/26/19            10,880                 X                0     7   MQ200DB     10,880               0
  28 2014 Golf Cart                               6/24/19             6,200                 X                0     7   MQ200DB      6,200               0
  29 2020 Haul Truck                             12/20/19           175,397                 X                0     7   MQ200DB    175,397               0
  30 Equipment                                    1/01/20            11,554                 X                0     7   HY 200DB    11,554               0
  31 Office Equipment Computers Software          1/01/21           153,097                 X                0     5   HY 200DB   153,097               0
  32 Truck Bronco 2021                            1/01/21           104,266                 X                0     7   HY 200DB   104,266               0
                                                                    905,991                                  0                    905,991               0


Other Depreciation:
  21 Ford F150 Pickup Truck                          7/25/18         40,000                           40,000       5 MO S/L        27,333        8,000
  35 Drilling Rig 2017 R023                          9/22/22          N/A*            X              217,296       7 MO S/L             0        7,761
                Total Other Depreciation                             40,000                          257,296                       27,333       15,761


                   Total ACRS and Other Depreciation                 40,000                          257,296                       27,333       15,761


Listed Property:
  22 SUV                                             8/21/18         50,433                              50,433    5 MO S/L        33,622               0
                          Out Of Service: 1/01/22
                                                                     50,433                              50,433                    33,622               0


Amortization:
 33 Goodwill                                         1/01/21        445,000                          445,000 15 MOAmort            29,667       29,666




*Because this asset has 179 expense, its cost has been included in the Section 179 Property cost total
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 22 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 23 of
                                        52
 PAKCONSTLLC     Packet
       23-10860-cgb     Construction
                     Doc#12          LLC
                              Filed 10/13/23                                09/11/2023 Pg
                                             Entered 10/13/23 09:23:27 Main Document   5:00
                                                                                          24PM
                                                                                             of
       4512                          AMT Asset52   Report
 FYE: 12/31/2022                     Form 1120-S, Page 1

                                                       Date                    Bus Sec       Basis
Asset                  Description                  In Service     Cost         % 179Bonus for Depr               PerConv Meth    Prior       Current


Section 179 Expense:
  35 Drilling Rig 2017 R023                          9/22/22        317,296           X     X        N/A           7 HY 200DB             0    100,000
                                                                    317,296                          N/A                                  0    100,000


7-year GDS Property:
  34 Received in trade for asset # 17                6/01/22             0                  X                0     7 HY 200DB             0          0
  35 Drilling Rig 2017 R023                          9/22/22          N/A*            X     X                0     7 HY 200DB             0    217,296
                                                                         0                                   0                            0    217,296


Prior MACRS:
   1 Skid Steer                                  12/29/17             9,200                 X                0     7   MQ200DB      9,200               0
   2 Mini Excavater                              12/29/17             7,800                 X                0     7   MQ200DB      7,800               0
   3 Skid Steer                                  12/29/17            76,236                 X                0     7   MQ200DB     76,236               0
   4 Enclosed Tool Trailer                       12/28/17             4,494                 X                0     5   MQ200DB      4,494               0
   5 Equipment Trailer                           12/28/17             5,028                 X                0     5   MQ200DB      5,028               0
   6 Equipment Trailer                            1/17/18             4,997                 X                0     7   HY 200DB     4,997               0
   7 Equipment Trailer                            1/29/18             7,868                 X                0     7   HY 200DB     7,868               0
   8 7'x20' Equipment trailer                     2/20/18             4,997                 X                0     7   HY 200DB     4,997               0
   9 7' x 16' Cargo Trailer                       2/20/18             4,601                 X                0     7   HY 200DB     4,601               0
  10 7' x 20' Equipment Trailer                   2/22/18             5,210                 X                0     7   HY 200DB     5,210               0
  11 Equipment Trailer                            2/28/18             5,180                 X                0     7   HY 200DB     5,180               0
  12 7' x 16' Tool Trailer                        3/06/18             5,028                 X                0     7   HY 200DB     5,028               0
  13 Equipment Trailer 20'                        3/30/18             5,376                 X                0     7   HY 200DB     5,376               0
  14 303.5 Mini Excavator                         5/22/18            44,722                 X                0     7   HY 200DB    44,722               0
  15 289D Skid Steer                              5/22/18            46,796                 X                0     7   HY 200DB    46,796               0
  17 2019 Polaris Ranger                          6/07/18            29,339                 X                0     7   HY 200DB    29,339               0
                         Casualty/Theft: 6/01/22
  18 Forklift                                     7/17/18            34,662                 X                0     7 HY 200DB      34,662               0
                         Sold/Scrapped: 7/01/22
  19 Water Truck                                  7/17/18            28,676                 X                0     7   HY 200DB    28,676               0
  20 32' Goose Neck Trailer                       7/25/18            10,519                 X                0     7   HY 200DB    10,519               0
  23 Fork Lift                                    9/04/18             1,514                 X                0     7   HY 200DB     1,514               0
  24 Fork Lift Upgrade                           11/01/18             8,554                 X                0     7   HY 200DB     8,554               0
  25 Telescopic Drill Attachment Skid Steer       2/07/19            14,276                 X                0     7   MQ200DB     14,276               0
  26 Travel Trailer                               2/07/19            79,524                 X                0     7   MQ200DB     79,524               0
  27 Compressor                                   4/26/19            10,880                 X                0     7   MQ200DB     10,880               0
  28 2014 Golf Cart                               6/24/19             6,200                 X                0     7   MQ200DB      6,200               0
  29 2020 Haul Truck                             12/20/19           175,397                 X                0     7   MQ200DB    175,397               0
  30 Equipment                                    1/01/20            11,554                 X                0     7   HY 200DB    11,554               0
  31 Office Equipment Computers Software          1/01/21           153,097                 X                0     5   HY 200DB   153,097               0
  32 Truck Bronco 2021                            1/01/21           104,266                 X                0     7   HY 200DB   104,266               0
                                                                    905,991                                  0                    905,991               0


Other Depreciation:
  21 Ford F150 Pickup Truck                          7/25/18         40,000                              40,000    5 MO S/L        27,333        8,000
                Total Other Depreciation                             40,000                              40,000                    27,333        8,000


                   Total ACRS and Other Depreciation                 40,000                              40,000                    27,333        8,000


Listed Property:
  22 SUV                                             8/21/18         50,433                              50,433    5 MO S/L        33,622               0
                          Out Of Service: 1/01/22
                                                                     50,433                              50,433                    33,622               0




*Because this asset has 179 expense, its cost has been included in the Section 179 Property cost total
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 25 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 26 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 27 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 28 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 29 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 30 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 31 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 32 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 33 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 34 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 35 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 36 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 37 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 38 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 39 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 40 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 41 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 42 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 43 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 44 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 45 of
                                        52




              Randy Van Camp, CPA, LLC
              171 Benney Lane Bldg II Ste 300
              Dripping Springs, TX 78620-5394




              John P Miller
              15291 FM 150 W
              Driftwood, TX 78619
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 46 of
                                        52
                             Randy Van Camp, CPA, LLC
                            171 Benney Lane Bldg II Ste 300
                            Dripping Springs, TX 78620-5394
                                     512-894-0052

  September 11, 2023

  CONFIDENTIAL

  John P Miller
  15291 FM 150 W
  Driftwood, TX 78619

  Dear JP MIller:

  We have prepared the enclosed copy of Form 1120-S, Schedule K-1 for Packet Construction
  LLC. It contains your share of the corporation's items of income (loss), credits and deductions,
  and other information for the corporation's tax year ended December 31, 2022. These items are to
  be reported on your federal income tax return; therefore, this Schedule should be retained with
  your tax records and documentation.

  Also enclosed is state K-1 information, if applicable. This information should also be retained
  with your tax records and documentation.

  Also enclosed is shareholder basis information. This information consists of your stock and loan
  basis in the corporation and, if applicable, your share of any suspended or disallowed losses.
  Retain this information with your tax records; it may be needed to complete your federal income
  tax return.

  We have retained a copy of the Schedule K-1 and other relevant documents for use in preparing
  your federal income tax return and, if applicable, all State K-1 information for use in preparing
  any state tax returns. We urge you to call for an appointment at your earliest convenience so that
  we might begin preparation of your individual tax returns.

  If you have any questions, or if we can be of assistance in any way, please do not hesitate to call.

  Sincerely,



  Randy Van Camp, CPA, LLC
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 47 of
                                        52
PAKCONSTLLC 09/11/2023 5 01 PM

                                      Schedule
                23-10860-cgb Doc#12 Filed        K-1Entered
                                          10/13/23   (1120-S) List of 09:23:27
                                                            10/13/23  Codes Main Document Pg 48 of
                                                         52
   10.   Other income (loss)                                     13.   Credits                                                        17. Other information
         A   Other portfolio income (loss)                             A   and B Reserved for future use                                  A   Investment income
         B   Involuntary conversions                                   C   Low-income housing cr (sec 42(j)(5)) from post-2007 bldgs      B   Investment expenses
         C   Section 1256 contracts & straddles                        D   Low-income housing cr (other) from post-2007 bldgs             C   Qualified rehabilitation expenditures (other than RRE)
         D   Mining exploration costs recapture                        E   Qualified rehabilitation expenditures (rental real estate)     D   Basis of energy property
         E   Section 951A(a) income inclusions                         F    Other rental real estate credits                              E    Recap of low-income housing cr (sec 42(j)(5))
         F   Inclusions of subpart F income                            G    Other rental credits                                          F    Recap of low-income housing cr (other)
         G   Section 951(a)(1)(B) inclusions                           H    Undistributed capital gains credit                            G    Recapture of investment credit
         H   Other income (loss)                                       I    Biofuel producer credit                                       H    Recapture of other credits
                                                                       J    Work opportunity credit                                       I    Look-back interest – completed long-term contracts
   12.   Other deductions                                              K    Disabled access credit                                        J    Look-back interest – income forecast method
         A   Cash contributions (60%)                                  L    Empowerment zone employment credit                            K    Dispositions of property with section 179 deductions
         B   Cash contributions (30%)                                  M    Credit for increasing research activities                     L    Recapture of section 179 deduction
         C   Noncash contributions (50%)                               N    Credit for employer social security and Medicare taxes        M    Section 453(l)(3) information
         D   Noncash contributions (30%)                                    Backup withholding
                                                                       O                                                                  N    Section 453A(c) information
         E   Capital gain property to a 50% organization (30%)         P    Other credits                                                 O    Section 1260(b) information
         F   Capital gain property (20%)
                                                                                                                                          P    Interest allocable to production expenditures
         G   Contributions (100%)                                15.   Alternative minimum tax (AMT) items
                                                                                                                                          Q    Capital construction fund (CCF) nonqualified withdrawals
         H   Investment interest expense                               A    Post-1986 depreciation adjustment
                                                                                                                                          R    Depletion information - oil and gas
         I   Deductions – royalty income                               B    Adjusted gain or loss
                                                                                                                                          S    and T Reserved for future use
         J   Section 59(e)(2) expenditures                             C    Depletion (other than oil & gas)
                                                                                                                                          U    Net investment income
         K   Reserved for future use                                   D    Oil, gas, & geothermal – gross income
                                                                                                                                          V    Section 199A information
         L   Deductions – portfolio (other)                            E    Oil, gas, & geothermal – deductions
                                                                                                                                          W    through Z Reserved for future use
         M   Preproductive period expenses                             F    Other AMT items
                                                                                                                                          AA Excess taxable income
         N   Reserved for future use
                                                                                                                                          AB Excess business interest income
         O   Reforestation expense deduction                     16.   Items affecting shareholder basis
                                                                                                                                          AC   Gross receipts for section 448(c)
         P   through R Reserved for future use                         A    Tax-exempt interest income
                                                                                                                                          AD   Other information
         S   Other deductions                                          B    Other tax-exempt income
                                                                       C    Nondeductible expenses
                                                                       D    Distributions
                                                                       E    Repayment of loans from shareholders
                                                                       F    Foreign taxes paid or accrued
PAKCONSTLLC     Packet
      23-10860-cgb     Construction
                    Doc#12          LLC
                             Filed 10/13/23                                 9/11/2023 Pg
                                            Entered 10/13/23 09:23:27 Main Document   5:00
                                                                                         49PM
                                                                                            of
      4512                         Federal Statements
                                                 52
FYE: 12/31/2022                         John P Miller
                                                0349

              Schedule K-1, Box 17, Code AC - Gross Receipts for Section 448(c)

                                                                             Shareholder
                             Description                                       Amount
8990 Gross Receipts for 2021                                                      3,267,767
8990 Gross Receipts for 2020                                                      4,596,718
8990 Gross Receipts for 2019                                                      5,563,205
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 50 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 51 of
                                        52
23-10860-cgb Doc#12 Filed 10/13/23 Entered 10/13/23 09:23:27 Main Document Pg 52 of
                                        52
